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     UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND
                         BALTIMORE DIVISION

LAURIE D. PERRAULT, et al.,

       Plaintiffs,

v.                                                 Case No.: CCB07CV1582

THE CENTER FOR PAIN
MANAGEMENT, L.L.C., et al.

       Defendants.


              STIPULATION OF DISMISSAL WITH PREJUDICE
          OF DEFENDANTS PAIN MANAGEMENT CENTER ASC, LLC,
                  AND PAIN MANAGEMENT CENTER, PC

       Pursuant to Rule 41(a)(1)(A)(ii) (Voluntary Dismissal by the Plaintiff), the parties

hereby stipulate to the dismissal, with prejudice, of the Defendants Pain Management Center

ASC, LLC, and Pain Management Center, PC, only. All other defendants will remain as

parties in this action. Specifically, the Defendants, The Center for Pain Management,

L.L.C., and Ali El-Mohandes, M.D., are not dismissed.

                                             Respectfully submitted,

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                                             Attorneys for all Defendants


                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing Stipulation of Dismissal with

Prejudice of Defendants Pain Management Center ASC, LLC, and Pain Management

Center, PC, was served via e-filing this 21st day of August, 2008, on:

Conrad W. Varner, Esquire
Shelly Bagoly, Esquire
Varner & Goundry
31 West Patrick Street
Suite 100
Frederick, Maryland 21701


                                             /s/ Murray Scheel
                                             Murray Scheel
